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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                          PENNSYLVANIA


JAMES FRIERSON, Individually and as    Civil Action
administrator of the ESTATE OF JIM
ROGERS, Decedent.                       No.:

                  Plaintiff,

                  v.

CITY OF PITTSBURGH, A Municipal               JURY TRIAL DEMANDED
Corporation, OFFICERS KEITH
EDMONDS, individually and in his official
capacity, LIEUTENANT MATT
GAUNTER, individually and in his official
capacity , ROBERT PEDEY, individually
and in his official capacity, PAT DESARO,
individually and in his official capacity,
GREG BOSS, individually and in his official
capacity, JEFF DEAN, individually and in
his official capacity, PAUL FROEHLICH,
individually and in his official capacity,
NEYIB VELAZQUEZ, individually and in
his official capacity, LEROY SCHROCK,
individually and in his official capacity,
SARGEANT COLBY NEIDIG, individually
and in his official capacity and SARGEANT
CAROL EHLINGER, individually and in
his official capacity JANE DOE 1,
individually and in her official capacity and
JOHN DOE 2, individually and in his official
capacity.

                  Defendants.
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                              COMPLAINT IN CIVIL ACTION

       AND NOW comes the Plaintiff, James Frierson, individually and as Administrator of the
Estate of Jim Rogers, Decedent, by and through his undersigned counsel, Todd J. Hollis, Esquire,
of Todd J. Hollis Law, who files the following Complaint in Civil Action, to recover damages
for injuries and death sustained as a result of excessive, unreasonable and unnecessary force used
by the named Defendants during their arrest of Decedent on October 13, 2022 in violation of his
rights under the United States Constitution, stating in support thereof as follows:

                                           INTRODUCTION

   1. This action arises from the unjustified killing of Mr. Jim Rogers by City of Pittsburgh
      police officers and EMS technicians.

   2. On the morning of October 13, 2021, Jim Rogers, an unarmed 54-year-old man, was
      killed in a Pittsburgh residential neighborhood by a City of Pittsburgh police officer who
      tasered him at least nine (9) times, following which a number of other officers
      and emergency medical service (hereinafter “EMS”) technicians failed to provide needed
      medical care for him and failed to assess his physical health.

   3. These tragic events began when a citizen at 5110 Harriet Street called the Department of
      Emergency Services through a 911 call, claiming that she observed Mr. Rogers taking a
      bicycle from a neighbor’s porch.

   4. Officer Keith Edmonds, hereinafter, “Officer Edmonds,” was dispatched to the scene; he
      located Mr. Rogers, who allegedly fit the description of the bicycle-borrower and
      illegally searched Mr. Rogers’ person.

   5. Although Officer Edmonds ascertained that Mr. Rogers was not armed and presented no
      physical threat to him or any third party, he tased him nine (9) or ten (10) times.

   6. EMS personnel were summoned to the scene, but technicians never performed any
      medical assessment of Mr. Rogers, even though he repeatedly begged for medical
      assistance.

   7. Officers Pat Desaro (hereinafter, “Officer Desaro”) and Greg Boss (hereinafter, “Boss”)
      then transported Mr. Rogers in their patrol car by-passing West Penn Hospital, which was
      just a few blocks away and has an Emergency Department, and instead headed for the
      Allegheny County Jail.


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8. Nearing the jail, the officers determined that Mr. Rogers was becoming more and more
   unresponsive and finally decided to take him to the Mercy Hospital
   Emergency Department.

9. Upon arriving there, the officers determined that Mr. Rogers was no longer breathing. He
   had no pulse and was unresponsive.

10. They began administering cardio pulmonary resuscitation (CPR). Medical staff were able
    to keep him alive until the next day, when he died.

11. This is a civil rights action seeking damages collectively against the above Defendants
    for violations of Mr. Rogers’ rights, privileges, and immunities guaranteed under the
    United States Constitution and the Civil Rights Act of 1871, 42 U.S.C. §1983, and
    Pennsylvania common law.

                                 JURISDICTION AND VENUE

12. The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

13. This Honorable Court has jurisdiction of the within matters pursuant to 28 U.S.C. §§1331
   and §§1343 such that the causes of action enumerated herein arise under the Constitution,
   treaties or laws of the United States.

14. In particular, the causes of action enumerated herein arise under the Civil Rights Act of
   1871, as amended, 42 U.S.C. §1983, and the Fourth and Fourteenth Amendments of the
   United States Constitution. Further, this Honorable Court has supplemental jurisdiction of
   state law claims pursuant to 28 U.S.C. §1367(a).

15. Venue is properly laid in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(1) and
   1391(b)(2) because: (a) Defendants reside in and/or conduct business in this judicial
   district; and/or (b) because the acts and omissions giving rise to the claims set forth
   herein (including specifically Mr. Rogers’ arrest by Defendant officers and the injuries
   and death resulting therefrom) occurred exclusively in this judicial district.




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                                            PARTIES

16. Mr. Rogers was, at the time of his death, a 54-year old man with a long history of mental
    health issues and who resided in Pittsburgh, Pennsylvania.

17. Plaintiff is James Frierson, Administrator of the Estate of Jim Rogers. Mr. Frierson is a
    resident of Allegheny County.

18. Defendant, City of Pittsburgh, is a municipality in the Commonwealth of Pennsylvania,
    which, at all relevant times, employed Pittsburgh police officers who were at the scene of
    the Decedent’s seizure and transport and who committed and/or participated in the
    wrongful acts alleged herein and/or did nothing to prevent Defendant officers’ illegal
    acts.

19. Defendant Officer Keith Edmonds is/was a City of Pittsburgh police officer who, at all
    relevant times, was employed by the City of Pittsburgh, Pennsylvania. At all times
    relevant hereto, Defendant Edmonds was acting within the scope of his employment as
    such. He is being sued both in his individual and official capacity.

20. Lieutenant Matt Gaunter is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Gaunter was acting within the scope of his employment as such. He is
    being sued both in his individual and official capacity.

21. Defendant Officer Pat Desaro is/was a City of Pittsburgh police officer who, at all
    relevant times, was employed by the City of Pittsburgh, Pennsylvania. At all times
    relevant hereto, Defendant Desaro was acting within the scope of his employment as
    such. He is being sued both in his individual and official capacity.

22. Defendant Gregory Boss is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Boss was acting within the scope of his employment as such. He is
    being sued both in his individual and official capacity.

23. Defendant Jeffrey Dean is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Dean was acting within the scope of his employment as such. He is
    being sued both in his individual and official capacity.

24. Defendant Paul Froehlich is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
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   hereto, Defendant Froehlich was acting within the scope of his employment as such. He
   is being sued both in his individual and official capacity.

25. Defendant Neyib Velazquez is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Velazquez was acting within the scope of his employment as such. He
    is being sued both in his individual and official capacity.

26. Defendant Colby Neidig is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Neidig was acting within the scope of his employment as such. He is
    being sued both in his individual and official capacity.

27. Defendant Carol Ehlinger is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Ehlinger was acting within the scope of her employment as such. She
    is being sued both in her individual and official capacity.

28. Defendant Leroy Schrock is/was a City of Pittsburgh police officer who, at all relevant
    times, was employed by the City of Pittsburgh, Pennsylvania. At all times relevant
    hereto, Defendant Schrock was acting within the scope of his employment as such. He is
    being sued both in his individual and official capacity.

29. Defendant Officer Robert Pedey is/was a City of Pittsburgh police officer who, at all
    relevant times, was employed by the City of Pittsburgh, Pennsylvania. At all times
    relevant hereto, Defendant Pedey was acting within the scope of his employment as such.
    He is being sued both in his individual and official capacity.

30. Defendants John and Jane Does are EMTs and/or paramedics employed by the City of
    Pittsburgh. They are being sued both in their individual and official capacity.

                                       JURY DEMAND

31. Plaintiff demands trial by jury in this action.




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                                  FACTUAL ALLEGATIONS

32. On October 13, 2021, Jim Rogers, an unarmed 54-year-old man with a long psychiatric
    history, was walking in the Friendship neighborhood of Pittsburgh, Pennsylvania.

33. At approximately 10:20 a.m., Mrs. Lauren Crossett contacted the City of Pittsburgh
    police stating that a man was stealing a bicycle from her neighbor’s porch.

34. It was later determined that this bicycle was being offered for free and that the neighbor
    did not characterize this conduct as a “theft.”

35. At approximately, 10:29 a.m., Officer Edmonds arrived in the general location and
    located Mr. Rogers on Harriet Street.

36. Upon information and belief, Officer Edmonds began questioning Mr. Rogers and
    performed a search of his person and ascertained that Mr. Rogers had no weapons or
    other contraband.

37. Upon information and belief, Officer Edmonds threw Mr. Rogers to the ground. A video
    of the situation shows that Officer Edmonds unreasonably escalated the matter by yelling
    at Mr. Rogers and then employed his taser and electrocuted Mr. Roger’s nine (9) or ten
    (10) times.

38. Upon information and belief, the electric current administered to Mr. Rogers caused him
    extreme pain, suffering and mental anguish.

39. At approximately 10:31 a.m., the following individuals arrived on the scene: Officers
    Pedey, Desaro, Boss, Dean, Gaunter, Schrock, Sargeant Neidig and Sargeant Ehlinger.

40. At 10:40 a.m. police requested that an ambulance be dispatched to the scene, because one
    or more of the officers had Mr. Rogers’ blood on them.

41. Upon information and belief, Mr. Rogers, while still on Harriet Street, repeatedly
    requested that he be provided medical help and taken to a hospital.

42. No police officer or EMS employees on the scene listened to or acceded to his request.

43. Upon arrival at the scene of arrest, EMTs and/or paramedics failed to obtain an accurate
    history from the officers about what had occurred, failed to assess Mr. Rogers’



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   condition, and failed to advise the officers that Mr. Rogers’ condition was life-
   threatening.

44. At the scene, it should have been apparent to EMS personnel that Mr. Rogers had
    suffered life-threatening harm from the multiple tasering and given that he was bleeding
    profusely.

45. Officers Pat Desaro and Greg Boss were tasked with transporting Mr. Rogers to jail.

46. Upon information and belief, Mr. Rogers repeatedly asked that he be provided medical
    help. Neither Officers Desaro nor Boss nor any other City of Pittsburgh Police officer
    acceded to these pleas for help.

47. The officers either knew or should have known of Mr. Roger’s critical medical needs.
    Despite Mr. Rogers’ quickly deteriorating physical health, Officers Pat Desaro and Greg
    Boss bypassed West Penn Hospital, which was just a few blocks from the scene of the
    police brutality and continued to the Allegheny County Jail.

48. However, upon nearing the jail, they determined that Mr. Rogers’ rapid decline deserved
    medical attention so they proceeded to Mercy Hospital, just blocks from the jail. There, it
    was determined that Mr. Rogers no longer had a pulse or was breathing. Emergency
    Department staff came out to the police vehicle to perform life-saving medical care.

49. Mr. Rogers entered the Emergency Department at approximately 11:16 a.m.

50. On October 14, 2021, Mr. Rogers died at approximately 10:15 a.m.

51. Officer Edmonds’ brutal attack on Mr. Rogers through the repeated use of a taser on an
    unarmed, nonviolent, older gentleman was without cause or justification and undertaken
    recklessly, wantonly and with gross negligence.

52. This attack caused Mr. Rogers personal injury, pain, suffering, extreme emotional
    distress, mental anguish, and ultimately death.

53. The actions and omissions of the Defendants that caused delay in the delivery of
    appropriate emergency medical care to Mr. Rogers were without cause or justification,
    and were undertaken intentionally, maliciously, recklessly, wantonly and/or with gross
    negligence.

54. As a consequence of his death, Mr. Rogers was deprived of the pleasures and enjoyment
    of life, liberty, and the pursuit of happiness.
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55. Upon information and belief, Officer Edmonds has a history of tasering individuals for
    minor unnecessary matters. On June 20, 2021 at OTN G 890134-0 Officer Edmonds
    tasered Mr. Troy Reed.

56. In that matter Mr. Reed was being arrested for a minor retail theft charge. He was
    running away from Officer Edmonds and presented no threat to him or any other third
    party, yet Officer Edmonds employed an unreasonable use of force to apprehend Mr.
    Reed.

57. The City of Pittsburgh failed to discipline Mr. Edmonds and as such tacitly accepted Mr.
    Edmonds’ actions.


                                      COUNT ONE

42 U.S.C. §1983: USE OF EXCESSIVE FORCE IN VIOLATION OF MR. ROGER’S
            RIGHTS UNDER THE FOURTH AMENDMENT TO THE
                      UNITED STATES CONSTITUTION
  (AGAINST OFFICER KEITH EDMONDS individually and in his official capacity)

58. Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully set forth
    at length herein.

59. By the above assault in which Officer Edmonds employed his taser (upon information
    and belief) nine (9) times against Mr. Rogers, Defendant Officer Edmonds deprived Mr.
    Rogers of rights, remedies, privileges, and immunities guaranteed to every citizen of the
    United States, in violation of 42 U.S. C. §1983, including, but not limited to rights
    guaranteed by the Fourth and Fourteenth Amendments to the United States Constitution.

60. Upon information and belief, Officer Edmonds searched Mr. Rogers upon first making
    contact with him.

61. Officer Edmonds found no weapons or contraband on Mr. Rogers.

62. Nevertheless, Officer Edmonds deployed his taser at Mr. Rogers approximately nine (9)
    or ten (10) times.

63. At no time during any of the events alleged herein was Mr. Rogers ever observed to be a
    threat to Officer Edmonds or any other person or in possession of any sort of weapon.


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64. At no time during any of the events alleged herein was Mr. Rogers ever observed to
    attempt to swing at, punch, kick, strike or otherwise harm any police officer, EMT,
    paramedic, civilian, or any other individual present at the scene.

65. The excessiveness of the force used against Mr. Rogers is evidenced by:
       a. the lack of the severity of the charged crime (stealing a bike at most, taking a free
           bike with permission off a porch, at the least);
       b. the lack of any threat to the safety of the officers or anyone in the public;
       c. the lack of any active resistance to being arrested; and
       d. the short gaps between bursts of tasing suggesting that Mr. Rogers was not given
           the chance to comply.

66. Upon information and belief, Defendant Officer Edmonds knew or should have known of
    the City of Pittsburgh Police Department’s Taser Policy, Order # 12-13, effective date
    of 5/1/ 2012, which states at Paragraph 1.2 that the Taser is approved to control actively
    resisting subjects, aggressive non-compliant subjects, violent or potentially violent
    subjects.

67. Mr. Rogers fell within none of these categories and thus Officer Edmonds was not
    authorized to taser him.

68. Additionally, Officer Edmonds had no probable cause to arrest Mr. Rogers and thus was
    not entitled to detain him. Accordingly, any use of force, much less lethal force, would
    have been excessive.

69. Mr. Rogers did not pose a threat to the safety of Officer Edmonds or any other officer or
    civilian so as to justify the repeated use of the taser.

70. Defendant Edmonds acted at all relevant times under color of state law and in his
    individual and official capacities and/or within the scope of his employment with the
    Pittsburgh Police Department.

71. Said acts by Defendant Officer Edmonds were committed without authority of law, and
    in abuse of his powers, and in a manner in which he willfully, knowingly, and with
    specific intent deprived Mr. Rogers of his constitutional rights secured by 42 U.S.C.
    §1983, and by the Fourth and Fourteenth Amendments to the United States Constitution.

72. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries and
    death and damages described above in an amount to be determined at trial.



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                                         COUNT TWO

        42 U.S.C. §1983: DELIBERATE INDIFFERENCE TO MEDICAL NEEDS
    -AGAINST OFFICERS KEITH EDMONDS individually and in his official capacity,
   LIEUTENANT MATT GAUNTER individually and in his official capacity, ROBERT
PEDEY individually and in his official capacity, PAT DESARO individually and in his official
capacity, GREG BOSS individually and in his official capacity, JEFF DEAN individually and
in his official capacity, PAUL FROEHLICH individually and in his official capacity, NEYIB
VELAZQUEZ individually and in his official capacity, LEROY SCHROCK individually and
    in his official capacity, SGT. COLBY NEIDIG individually and in his official capacity
           AND SGT. CAROL EHLINGER individually and in her official capacity

   73. Plaintiff realleges each allegation contained in the preceding paragraphs as if set forth
       separately herein.

   74. Defendant officers, acting under color of state law, violated 42 U.S.C. §1983 by
       depriving Mr. Rogers of his rights under the Fourth and Fourteenth Amendments to the
       United States Constitution, by preventing and denying him critical medical attention, by
       engaging in the following activities demonstrating their deliberate indifference:

          a. Restraining Mr. Rogers and keeping him in a prone position on the ground despite
             him being injured and having been tasered multiple times;
          b. Failing to direct EMTs and/or paramedics to medically assess Mr. Rogers;
          c. Directing EMTs and/or paramedics only to attend to police officers;
          d. Failing to inform EMTs and/or paramedics that Mr. Rogers had been tasered nine
             (9) times;
          e. Transporting him ostensibly to the Allegheny County Jail, and bypassing West
             Penn Hospital (and other proximally related hospitals) – only a few blocks from
             the scene of the excessive force – and only deviating from their route to go to
             Mercy Hospital once Mr. Jim Rogers lost consciousness, needing CPR; and
          f. Failing to provide Emergency Department medical staff with a full understanding
             of what had happened to Mr. Rogers, leaving medical staff with “no real story on
             patient” thus hampering their ability to give him the best possible medical care.

   75. These acts and omissions demonstrated deliberate indifference to Mr. Rogers who had
       been tasered at least nine (9) times.

   76. Given that all Defendant officers should have known that a taser should only be
       employed a maximum of three (3) times against a person, it is asserted that they all knew



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   or should have known that Mr. Rogers likely was physically harmed by the multiple
   tasering he received at the hands of Officer Edmonds.

77. Additionally, all Defendant officers were in the close vicinity of Mr. Rogers while he was
    restrained on the ground. They could observe his deteriorating physical condition and/or
    hear him repeatedly asking for medical help, and could observe that he was bleeding.

78. Upon information and belief, Mr. Rogers said he could not breathe, requested medical
    attention, suffered labored breathing, and was bleeding.

79. Upon information and belief, all officers at the scene were close enough to Mr. Rogers to
    hear his pleas for medical assistance and/or observe his medical condition.

80. Defendant officers prevented Mr. Rogers from obtaining timely medical care, prolonged
    his pain and suffering, and caused his injuries to worsen and to lead to death.

81. All of the Defendant officers knew or should have known that the taser delivered an
    electric current into Mr. Rogers’ body, and that given his age, was likely to have medical
    consequences that, at the least, should have been assessed by those EMS personnel called
    to the scene.

82. Mr. Rogers was struck in his back with the Taser probes and repeatedly drive stunned by
    Officer Edmonds.

83. Upon information and belief, the Defendant officers knew or should have known of the
    City of Pittsburgh Police Department’s Taser Policy, Order # 12-13, effective date of
    5/1/ 2012, which states that if an officer observes any objective sign indicating that the
    subject requires immediate medical treatment following exposure to the discharge of the
    Taser, either by contact stun or by probes, the EMS unit is to be summoned to the scene
    immediately.

84. Upon information and belief, Defendant officers knew or should have known of the City
    of Pittsburgh Police Department’s Taser Policy, Order # 12-13, effective date of 5/1/
    2012, which states at Paragraph 7.2 that a medical release from a hospital will be
    obtained for all subjects exposed to the discharge of the taser, either by contact/drive stun
    or probes if the subject is to be lodged in the county jail or other detention facility. These
    policies placed Defendant officers on notice that they were to summon medical assistance
    when a criminal suspect is tasered and displays objective signs of the need for medical
    help.



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85. The officers’ delay in transporting Mr. Rogers to an Emergency Department was not brief
    given the extent of his significant injuries.

86. Upon information and belief, the delay in providing Advanced Life Support (“ALS”)
    Services to Mr. Rogers materially reduced his chances of survival and/or was a
    contributing cause of his death.

87. Upon information and belief, the delay in bringing Mr. Rogers to the hospital was a final,
    contributing cause of his death.

88. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries, death
    and damages described above in an amount to be determined at trial.


                                    COUNT THREE

                  42 U.S.C. §1983: FALSE ARREST
 (AGAINST OFFICER KEITH EDMONDS individually and in his official capacity)

89. Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully set forth
    at length herein.

90. Officer Edmonds, upon being summoned to Harriet Street, immediately questioned and
    then searched Mr. Rogers. He found no weapon or contraband.

91. Before conducting any investigation to substantiate Mrs. Crossett’s claim that it appeared
    that Mr. Rogers was stealing a bike from a neighbor’s porch, and although there was no
    bike in Mr. Roger’s possession at the time of the interaction, Defendant Officer Edmonds
    seized Mr. Rogers without probable case and in violation of Mr. Rogers’ Fourth
    Amendment rights, as protected by 42 U.S.C. §1983.

92. This seizure was made without probable cause that Mr. Rogers had committed a crime or
    was in possession of contraband.

93. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries, death
    and damages described above in an amount to be determined at trial.




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                                        COUNT FOUR

   42 U.S.C §1983: CONSPIRACY TO VIOLATE RIGHTS SECURED UNDER THE
                       FOURTH AND FOURTEENTH AMENDMENTS
    -AGAINST OFFICERS KEITH EDMONDS individually and in his official capacity,
   LIEUTENANT MATT GAUNTER individually and in his official capacity, ROBERT
PEDEY individually and in his official capacity, PAT DESARO individually and in his official
capacity, GREG BOSS individually and in his official capacity, JEFF DEAN individually and
in his official capacity, PAUL FROEHLICH individually and in his official capacity, NEYIB
VELAZQUEZ individually and in his official capacity, LEROY SCHROCK individually and
    in his official capacity, SGT. COLBY NEIDIG individually and in his official capacity
           AND SGT. CAROL EHLINGER individually and in her official capacity

   94. Plaintiff incorporates the allegations contained in the previous paragraphs of this
       Complaint as if fully set forth herein.

   95. The Defendant officers conspired to deny Mr. Roger’ rights under the Fourth and
       Fourteenth Amendment, pursuant to 42 U.S.C. §1983.

   96. Said conspiracy included, but is not limited to, the filing of false or misleading reports
       regarding the circumstances of Mr. Roger’s death and the issuance of inaccurate
       statements by the City or its employees regarding the circumstances of Mr. Roger’s
       seizure and search by the Defendants and the use of excessive force and the improper use
       of a Taser.

   97. Said conspiracy is further evidenced by one or more Defendant officers, at the scene,
       attempting to position their bodies so that bystanders could not see or videotape Mr.
       Rogers or officers’ interactions with him.

   98. Said conspiracy was designed to prevent the family and the public from learning the true
       circumstances regarding Mr. Roger’s death and constituted a cover-up.

   99. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries, death
       and damages described above in an amount to be determined at trial.




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                                         COUNT FIVE

        42 U.S.C. §1983: DELIBERATE INDIFFERENCE TO MEDICAL NEEDS
-AGAINST JOHN DOE individually and in his official capacity AND JANE DOE individually
and in her official capacity, EMPLOYEES OF THE CITY OF PITTSBURGH EMERGENCY
                                   MEDICAL SERVICES

  100. Plaintiff realleges each allegation contained in the preceding paragraphs as if set forth
       separately herein.

  101. On October 13, 2021, police contacted Emergency Medical Services (“EMS”) who were
       dispatched to the scene of the events described herein.

  102. John and Jane Doe, employees of EMS, arrived at the location.

  103. Upon information and belief, officers at the scene directed EMS personnel to assess
       officers who had been contaminated when Mr. Rogers’ blood ended up on them.

  104. Upon information and belief, officers at the scene did not inform EMS employees that
       Mr. Rogers had been tasered nine (9) or ten (10) times or that he was bleeding.

  105. Upon information and belief, EMS employees should have realized that since blood was
       found on the police officers, but that none of the officers had any wounds or injuries, the
       blood must have originated from Mr. Rogers.

  106. It is believed and averred that the amount of blood that ended up on the Defendant police
       officers should have alerted EMS personnel that Mr. Rogers needed medical care.

  107. The failure of the EMS personnel to provide this care was proximally related to Mr.
       Roger’s death.

  108. Upon information and belief, EMS employees never assessed Mr. Rogers.

           1.   They never questioned him,
           2.   took his pulse,
           3.   checked his respiration,
           4.   took his blood pressure,
           5.   checked for head trauma,
           6.   looked over his body,
           7.   talked to him,

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         8. assessed taser prong wounds,
         9. attempted to determine how many times he was tasered,
         10. removed taser hooks,
         11. Provided any other reasonable medical care,
         12. or ensured that his airway was unimpeded despite being on notice of potential
             injuries and a duty to provide care to him.

109. The EMS personnel knew or should have known that Mr. Roger’s was injured from being
     tasered when they over heard Officer Edmonds state on numerous occasions “Taser
     Deployed” “Step it up” during his conversations with the 911 operator.

110. The EMS personnel knew or should have known that Mr. Rogers was bleeding, given
     that his blood allegedly ended up on one or more of the officers, prompting their request
     that the EMTs decontaminate their exposure to human fluids.

111. John and Jane Doe acted under the color of state law when they decided not to treat Mr.
     Rogers.

112. As a direct and proximate result of the EMS employees’ deliberate indifference to Mr.
     Rogers’ serious medical needs, he suffered the injuries, death and damages described
     above in an amount to be determined at trial.


                                       COUNT SIX

42 U.S.C. §1983: NEGLIGENT HIRING, TRAINING, DISCIPLINE, SUPERVISION,
               MONITORING AND RETENTION OF EMPLOYEES
                     (AGAINST CITY OF PITTSBURGH)

113. Plaintiff repeats, reiterates and realleges each and every allegation contained herein above
     with the same force and effect as if hereinafter set forth at length.

114. Defendant City of Pittsburgh has violated Mr. Rogers' rights, privileges and immunities
     secured by the Civil Rights Act of 1871, 42 U.S.C. §1983, the Fourth and Fourteenth
     Amendments to the U.S. Constitution, and laws of Pennsylvania.

115. Defendant City of Pittsburgh, through its Police Department, owed a duty of care to Mr.
     Rogers to prevent the physical and mental abuse he sustained and his death.




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116. Upon information and belief, the Defendant officers were unfit and incompetent for their
     positions as police officers.

117. The City of Pittsburgh, through its Police Department, was knowing, reckless and
     deliberately indifferent in:

        1. Hiring officers who proximately caused Mr. Rogers' injuries and death;
        2. Failing to adequately train its officers as to the probable cause needed to
            effectuate a legal arrest in accordance with established state and federal
            constitutional principles;
        3. Failing to adequately train its officers how to interact with psychiatrically ill
            citizens and suspects;
        4. Failing to adequately train its officers in the appropriate use of a taser, which use
            must comply not only with state and federal constitutional principles but with the
            taser manufacturer’s guidelines for use;
        5. Failing to adequately train its officers in the appropriate use of force given state
            and federal constitutional principles;
        6. Failing to adequately supervise its officers in the appropriate use of force given
            state and federal constitutional principles;
        7. Failing to adequately discipline officers who violate constitutional and police
            standards governing the appropriate use of force;
        8. Failing to adequately monitor its officers who employ the use of excessive force
            against residents and criminal suspects;
        9. Failing to adopt and implement appropriate policies regarding use of force and
            use-of-force training;
        10. Failing to train officers in de-escalation measures and to avoid instigating
            physical confrontation by using communication tools;
        11. Failing to adequately train its officers in the appropriate provision of medical care
            to arrestees and pretrial detainees given state and federal constitutional principles;
        12. Failing to take adequate measures to address, remedy and/or minimize patterns of
            racial profiling in policing and use of force against suspects; and
        13. Permitting officers to target African-American males as victims of police brutality
            and false arrests.

118. The City of Pittsburgh, through its Emergency Medical Services, was knowing, reckless
     and deliberately indifferent in:

        1. Hiring EMTs and paramedics who proximately caused Mr. Rogers' injuries and
           death;



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          2. Failing to adequately train its EMTs and paramedics how to interact with
             psychiatrically ill citizens and suspects;
          3. Failing to adequately train its EMTs and paramedics in the appropriate response
             to police scenes where a criminal suspect has been tasered by police;
          4. Failing to adequately train its EMTs and paramedics to assess all potential
             medical victims at the scene of a police incident rather than fully deferring to
             police officers’ directives;
          5. Failing to adequately supervise its EMTs and paramedics in their response to
             police scenes where force has been used against a civilian;
          6. Failing to adequately discipline EMTs and paramedics who fail to provide needed
             medical care to individuals at the scene where EMS has been called;
          7. Failing to adopt and implement appropriate policies regarding the provision of
             medical care to those who have been tasered;
          8. Failing to adequately train its officers in the appropriate provision of medical care
             to arrestees and pretrial detainees given state and federal constitutional principles;
             and
          9. Failing to take adequate measures to address, remedy and/or minimize patterns of
             racial profiling in the provision of medical care.

  119. Upon information and belief, because the City of Pittsburgh’s, through its Police
       Department’s, negligent hiring, training, re-training, discipline, supervision, monitoring
       and retention of the aforementioned Defendant officers and EMS personnel, Mr. Rogers
       incurred significant physical and mental injuries and ultimately death.

  120. The City's failings, as listed above, directly and proximately caused Mr. Rogers’ death.

  121. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries, death
       and damages described above in an amount to be determined at trial.


                                       COUNT SEVEN

             WRONGFUL DEATH UNDER PENNSYLVANIA COMMON LAW
  (AGAINST CITY OF PITTSBURGH AND OFFICERS KEITH EDMONDS individually
and in his official capacity, LIEUTENANT MATT GAUNTER individually and in his official
      capacity, ROBERT PEDEY individually and in his official capacity, PAT DESARO
 individually and in his official capacity, GREG BOSS, individually and in his official capacity
JEFF DEAN individually and in his official capacity, PAUL FROEHLICH individually and in
 his official capacity, NEYIB VELAZQUEZ individually and in his official capacity, LEROY



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SCHROCK individually and in his official capacity, SGT. COLBY NEIDIG individually and
                                in his official capacity
      AND SGT. CAROL EHLINGER individually and in her official capacity

 122. Plaintiff incorporates the allegations contained in the previous paragraphs of this
      Complaint as if fully set forth herein.

 123. Defendant officers, acting within the scope of their employment, caused and/or
      contributed to the death of Mr. Rogers, by their use of force, without cause or
      justification and/or their deliberate indifference to his need for immediate medical care.

 124. Defendant City of Pittsburgh is responsible for its employees' actions taken in the scope
      of their employment as employees, police officers, and medical personnel.

 125. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries, death
      and damages described above in an amount to be determined at trial.

                                       COUNT EIGHT

      ASSAULT AND BATTERY UNDER PENNSYLVANIA COMMON LAW
-AGAINST CITY OF PITTSBURGH AND OFFICER KEITH EDMONDS individually and
                          in his official capacity

 126. Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully set forth
      at length herein.

 127. Defendant Edmonds, acting within the scope of his employment, intentionally, willfully,
      and maliciously assaulted Mr. Rogers when he tasered him (upon information and belief)
      nine (9) or ten (10) times.

 128. Defendant Edmonds, without just cause, or provocation, used excessive force against Mr.
      Rogers and engaged in willful misconduct. The use of such force was not justified or
      warranted under the circumstances and constituted the unreasonable and unnecessary use
      of force.

 129. The use of such force caused Mr. Rogers to suffer and experience fear and imminent
      apprehension of physical harm, pain and suffering, severe emotional distress, and death.

 130. The actions of Defendant Edmonds were intentional, malicious, and were committed with
      wanton disregard for the rights of Mr. Rogers.


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  131. The actions of Defendant Edmonds were unjustified and unnecessary in the performance
       of his duties as a police officer and were unreasonable, unwarranted and constituted
       excessive use of force.

  132. These actions constituted unlawful assaults and/or batteries upon Mr. Rogers.

  133. Defendant, City of Pittsburgh, as the employer of Officer Edmonds, is responsible for his
       wrongdoing under the doctrine of respondent superior.

  134. As a direct and proximate result of said violation, Mr. Rogers suffered injuries, death and
       damages described above in an amount to be determined at trial.


                                         COUNT NINE

         INTENTIONAL/RECKLESS INFLICTION OF EMOTIONAL DISTRESS
  (AGAINST CITY OF PITTSBURGH AND OFFICERS KEITH EDMONDS individually
and in his official capacity, LIEUTENANT MATT GAUNTER individually and in his official
      capacity, ROBERT PEDEY individually and in his official capacity, PAT DESARO
 individually and in his official capacity, GREG BOSS individually and in his official capacity,
JEFF DEAN individually and in his official capacity, PAUL FROEHLICH individually and in
 his official capacity, NEYIB VELAZQUEZ, individually and in his official capacity LEROY
 SCHROCK individually and in his official capacity, SGT. COLBY NEIDIG individually and
                                       in his official capacity
            AND SGT. CAROL EHLINGER individually and in her official capacity

  135. Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully set forth
       at length herein.

  136. Defendant Edmonds intentionally deployed his taser at Mr. Rogers (upon information and
       belief) nine times.

  137. All Defendant officers prevented EMTs from assessing Mr. Rogers, then delayed in
       providing needed medical assistance for him despite his pleas for help and his
       deteriorating health.

  138. As a result of Defendants’ actions, Mr. Rogers suffered extreme and severe emotional
       distress before his death.



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  139. Defendant officers knew that such distress was substantially certain to result from their
       conduct or, at a minimum, acted in disregard of a substantial probability of causing
       severe emotional distress.

  140. Defendants City of Pittsburgh is responsible for the wrongdoing of its agents, servants
       and/or employees, under the doctrine of respondent superior.

  141. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries and
       death and damages described above in an amount to be determined at trial.


                                         COUNT TEN

                                      SURVIVAL ACTION
             WRONGFUL DEATH UNDER PENNSYLVANIA COMMON LAW
  (AGAINST CITY OF PITTSBURGH AND OFFICERS KEITH EDMONDS individually
and in his official capacity, LIEUTENANT MATT GAUNTER individually and in his official
      capacity, ROBERT PEDEY individually and in his official capacity, PAT DESARO
 individually and in his official capacity, GREG BOSS, individually and in his official capacity
JEFF DEAN individually and in his official capacity, PAUL FROEHLICH individually and in
 his official capacity, NEYIB VELAZQUEZ individually and in his official capacity, LEROY
 SCHROCK individually and in his official capacity, SGT. COLBY NEIDIG individually and
                                       in his official capacity
            AND SGT. CAROL EHLINGER individually and in her official capacity

  142. Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully set forth
       at length herein.

  143. Defendant City of Pittsburgh and Officers, acting within the scope of their employment,
       caused and/or contributed to the death of Mr. Rogers, by their use of force, without cause
       or justification and/or their deliberate indifference to his need for immediate medical
       care.

  144. Defendant City of Pittsburgh is responsible for its employees' actions taken in the scope
       of their employment as employees, police officers, and medical personnel.

  145. As a direct and proximate result of said violation, Mr. Rogers suffered the injuries, death
       and damages described above in an amount to be determined at trial.




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  WHEREFORE, Plaintiff respectfully requests judgment against Defendants as follows:

(A) an order declaring that Defendants' conduct violated Mr. Roger's rights as guaranteed by the
Fourth and Fourteenth Amendments to the United States Constitution;
(B) an order granting compensatory damages in an amount to be determined at trial;
(C) an order awarding punitive damages against Defendants in an amount to be determined at
trial;
(D) an order awarding Plaintiff reasonable attorneys' fees and costs under 42 U.S.C. §1988.




JURY TRIAL DEMANDED.

                                                    TODD J. HOLLIS LAW

                                                    By: ________________________
                                                        /s/ Todd J. Hollis
                                                    Todd J. Hollis, Esquire
                                                    Supreme Court I.D. No. 72510

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                                                    Counsel for the Plaintiff:
                                                    JAMES FRIERSON, Individually and as
                                                    administrator of the ESTATE OF JIM
                                                    ROGERS, Decedent.




Date: April 4, 2022




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